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                                                                                              2005 Jun-29 PM 04:28
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                           NORTHWESTERN DIVISION


FAME ENTERPRISES, INC. and ROE
E. (RICK) HALL,

       PLAINIFFS,

VS.                                                   CIVIL ACTION NO.: CV-05-J-0833-NW

CAPITOL RECORDS, INC.; EMI GROUP,
INC.; EMI RECORDS; EMI MUSIC GROUP,
INC.; EMI GROUP NORTH AMERICA, INC.;
PEGASUS RECORDS; LASER’S EDGE;
SUNBURST RECORDS; BAYSOUND, INC.;
THE SOUND SHOP, INC.; SOUND SHOP;
CHARLEMAGNE RECORD EXCHANGE,
INC.; and DEFENDANTS A, B, C, and D, as
more specifically described in the body of the
Complaint,

       DEFENDANTS.



                      AMENDMENT TO PLAINTIFFS' COMPLAINT

       COME NOW the plaintiffs and amend the Complaint previously filed in this case against the

defendants by deleting the sixth sentence in Paragraph 8 and re-stating said sentence as follows:

               8.     In substance and effect, the masters delivered under these contracts were

delivered pursuant to a lease, security device or other arrangement whereby ownership reverted to

FAME and/or remained with FAME throughout.



       Plaintiffs also add the following Counts to their Complaint:



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                                            COUNT IX
                                        (Invasion of Privacy)

               44.       Plaintiffs adopt and re-allege the prior allegations hereinabove contained in

paragraphs numbered 1 through 43.

               45.       The plaintiff Hall has written and produced many hit songs, beginning in the

1960's. According to the Alabama Music Hall of Fame, of which he is a 1985 inductee, he produced

211 charted singles, 83 of which were top 10 records, including 14 number 1 hits. The plaintiff,

Hall, has also received many other honors and awards, including Billboard's Producer of the Year

for the world in 1971.

               46.       Because of his acclaim in the music industry and because of his many

accomplishments as a well-known producer, the plaintiff's name and the plaintiff's likeness have a

unique quality and value that gives commercial benefit and profit to any musical product with which

his name or likeness is associated.

               47.       Without the plaintiff's consent or knowledge, the defendants, Capitol and

EMI, have appropriated the plaintiff's name for their own commercial gain by using his name to

advertise and/or enhance its products, the wrongfully released masters owned by Hall and/or FAME.

               48.       The defendants, Capitol and EMI, have invaded Hall's privacy with impunity,

causing the plaintiff compensatory damages and justifying an award of punitive damages.

       WHEREFORE, PREMISES CONSIDERED, the plaintiff, Hall, demands judgment against

Capitol and EMI for such compensatory and punitive damages as a jury shall assess.




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                                        COUNT X
                         (Infringement of Common-law Copyright)

              49.     Plaintiffs adopt and re-allege the prior allegations hereinabove contained in

paragraphs numbered 1 through 48.

              50.     FAME is the common-law copyright holder of the masters at issue in this

case.

              51.     All of the masters at issue in this case were fixed prior to February 15, 1972,

and are entitled to state common-law copyright protection until preempted by federal law on

February 15, 2067.

              52.     Plaintiffs have violated and infringed upon FAME's common-law copyright

in the aforementioned masters, causing compensatory damages, and under circumstances justifying

an award of punitive damages

        WHEREFORE, PREMISES CONSIDERED, the plaintiffs demand judgment against the

Capitol defendants for such compensatory and punitive damages as a jury shall assess.



                                       COUNT XI
                 (Contributory Infringement of Common Law Copyrights)

        53.   Plaintiffs adopt and re-allege the prior allegations hereinabove contained in the

Complaint as amended.

        54.   Through their conduct averred herein, defendants, Capitol and EMI, and each of them,

have engaged and continue to engage in the business of knowingly and systematically inducing,

causing, and materially contributing to the above-described unauthorized reproduction and/or

distribution of copies of the masters and thus to the infringement of plaintiffs’ common law


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copyrights and exclusive rights under copyright.

        55.     The infringement of reach of plaintiffs’ rights in and to the masters constitutes a

separate and distinct act of infringement.

        56.     The foregoing acts of infringement by said defendants have been willful, intentional,

and purposeful, in disregard of and indifferent to the rights of the plaintiffs.

        57.     Defendants’ conduct, as averred herein, constitutes contributory infringement of

plaintiffs’ common law copyrights and plaintiffs’ exclusive rights under copyright.

        58.     As a direct and proximate result of the contributory infringements by defendants of

plaintiffs’ common law copyrights and exclusive rights under copyright, plaintiffs are entitled to

damages and profits.

        59.     Defendants’ conduct, as hereinabove averred, is causing and, unless enjoined and

restrained by this Court, will continue to cause plaintiffs great and irreparable injury that cannot fully

be compensated or measured in money. Plaintiffs, and each of them, are entitled to an injunction

prohibiting further contributory infringements of plaintiffs’ common law copyrights by defendants,

and each of them.

                WHEREFORE, PREMISES CONSIDERED, plaintiffs demand judgment against

Capitol and EMI for such compensatory damages, punitive damages, and other relief to which they

are entitled.



                                           COUNT XII
                              (Vicarious Infringement of Copyrights)

        60.     Plaintiffs incorporate herein by reference each and every averment in the Complaint



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as amended.

        61.      The foregoing acts of infringement by defendants, EMI and Capitol, and each of them,

have been willful, intentional, and purposeful, in disregard of and indifference to the rights of the

plaintiffs.

        62.      Defendants’ conduct, as averred herein, constitutes vicarious infringement of

plaintiffs’ common law copyrights and exclusive rights under copyright.

        63.      As a direct and proximate result of said defendants’ vicarious infringement of

plaintiffs’ common law copyrights and exclusive rights under copyright, plaintiffs are entitled to

damages and defendants’ profit.

        64.      Defendants’ conduct, as hereinabove averred, is causing and, unless enjoined and

restrained by this Court, will continue to cause plaintiffs great and irreparable injury that cannot fully

be compensated or measured in money. Plaintiffs and each of them, are entitled to an injunction

prohibiting further vicarious infringements of plaintiffs’ copyrights by defendants, and each of them.

        WHEREFORE, PREMISES CONSIDERED, plaintiffs demand judgment against Capitol and

EMI for such compensatory damages, punitive damages, and other relief to which they are entitled.



                                           COUNT XIII
                                        (Unjust Enrichment)

        65.      Plaintiffs incorporate by reference herein each and every averment in the Complaint

as amended.

        66.      Defendants, EMI and Capitol, have willfully copies plaintiffs’ masters and have

manufactured, sold, distributed or licensed infringing compilations containing the masters;



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defendants acted without plaintiffs’ consent and without paying plaintiffs’ licensing fees and other

costs; and, defendants have profited from their unlawful activities and deprived plaintiffs of revenue.

       67.     Defendants have been unjustly enriched at plaintiffs’ expense and to plaintiffs’

detriment. In equity and good conscience, such enrichment gained through defendants’ unlawful and

inequitable conduct should be turned over in its entirety to plaintiffs.

       WHEREFORE, PREMISES CONSIDERED, plaintiffs request such damages and other relief

to which they shall be entitled.



                                          COUNT XIV
                              (False Designation of Origin of Discs)

       68.     Plaintiffs incorporate by reference herein each and every averment in the Complaint

as amended.

       69.     FAME is the owner of the “FAME” mark and name as used in connection with the

compact discs in the United States.

       70.     The acts of Capitol and EMI in causing and authorizing the sale of the above-

described compact discs through the United States and the world under the FAME mark and name,

are likely to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection ro

association of FAME with Capitol or EMI, their affiliates or others they have caused or authorized

to sell plaintiffs’ masters, or as to the origin, sponsorship, or approval of the compact discs sold

containing plaintiffs’ masters.

       71.     The foregoing acts of said defendants in violation of § 43(a)(1) of the Lanham Act

(15 U.S.C. § 1125(a)(1)) have caused damages to FAME in amounts that cannot at this time



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reasonably be calculated.

       WHEREFORE, PREMISES CONSIDERED, FAME prays that this Court:

               A.      Enjoin Capitol and EMI from using or employing the “FAME” mark and

name in connection with the manufacture or sale of the compact discs containing the above-

described masters.

               B.      Order that said defendants render an accounting of all revenues and profits

derived from sales of compact discs through the use of or reference to the name “FAME.”

               C.      Award FAME its actual damages, trebled.

               D.      That the Court declare, pursuant to the provisions of 28 U.S.C. § 2201 and

Rule 57 of the Federal Rules of Civil Procedure, that FAME is the owner of the “FAME” mark and

name as used in the United States with respect to compact discs.

               E.      Award FAME its costs, reasonable attorneys fees, and such further relief as

the Court deems appropriate.



                                          COUNT XV
                                (Misleading Promotion of Goods)

       72.     Plaintiffs restate and reallege the allegations of the Complaint as amended.

       73.     The acts of Capitol and EMI in causing and/or authorizing their affiliates and others

to advertise, promote, manufacture and sell compact discs using the FAME name and mark are likely

to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection or association

of FAME, with Capitol, EMI, their affiliates, and others, or as to the origin, sponsorship, or approval

of the compact discs sold as alleged above containing plaintiffs’ masters.



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       74.     The foregoing acts of said defendants in violation of § 43(a)(1) and (a)(2) of the

Lanham Act (15 U.S.C. § 1125(a)(1) and (a)(2)) have caused damages to FAME in amounts that

cannot at this time reasonably be calculated.

       WHEREFORE, PREMISES CONSIDERED, FAME prays that this Court:

               A.       Enjoin Capitol and EMI from using or employing the “FAME” mark and

name in connection with the manufacture or sale of the compact discs containing the above-

described masters.

               B.       Order that said defendants render an accounting of all revenues and profits

derived from sales of compact discs through the use of or reference to the name “FAME.”

               C.       Award FAME its actual damages, trebled.

               D.       That the Court declare, pursuant to the provisions of 28 U.S.C. § 2201 and

Rule 57 of the Federal Rules of Civil Procedure, that FAME is the owner of the “FAME” mark and

name as used in the United States with respect to compact discs.

               E.       Award FAME its costs, reasonable attorneys fees, and such further relief as

the Court deems appropriate.



                                           COUNT XVI
                                           (Conspiracy)

       75.     Plaintiffs reallege the allegations of the Complaint as amended.

       76.     In 2004, Capitol, EMI, Astralwerks, Honest Jon’s Records, and other unknown at this

time, actively conspired to cause and aid those parties to commit and accomplish the wrongs

heretofore described.



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       77.     As a result of this wrongful conduct, plaintiffs have suffered compensatory damages,

and the wrongful acts were done willfully, intentionally, recklessly, or otherwise under circumstances

justifying an award of punitive damages.

       WHEREFORE, PREMISES CONSIDERED, plaintiffs request such compensatory and

punitive damages as a jury shall award.




                                               G. RICK HALL
                                               Bar Number: 0484L73G
                                               Attorney for Plaintiffs
                                               Hall & Tanner, P.C.
                                               201 North Water Street
                                               Tuscumbia, Alabama 35674
                                               Telephone: (256) 381-7750
                                               Fax:    (256) 381-4449
                                               E-mail: grickhall@yahoo.com




       PLAINTIFFS CONTINUE TO DEMAND TRIAL BY STRUCK JURY OF THIS

CAUSE.

                                               s/G. Rick Hall
                                               G. RICK HALL
                                               Bar Number: 0484L73G
                                               Attorney for Plaintiffs
                                               Hall & Tanner, P.C.
                                               201 North Water Street
                                               Tuscumbia, Alabama 35674
                                               Telephone: (256) 381-7750
                                               Fax:    (256) 381-4449
                                               E-mail: grickhall@yahoo.com




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of June I filed the foregoing with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to the following to Will Hill

Tankersley, Jr., Esq. I further certify that I have mailed a hard copy of the foregoing by United States

Postal Services, First Class, the foregoing document to the following:

               Mr. Will Hill Tankersley, Jr.
               Mr. Scott B. Grover
               Balch & Bingham, LLP
               Attorneys at Law
               1710 Sixth Avenue North
               Birmingham, Alabama 35203

               Pegasus Records
               612 East Tennessee Street
               Florence, Alabama 35630


                                               Respectfully submitted,


                                               s/G. Rick Hall
                                               G. RICK HALL
                                               201 North Water Street
                                               Tuscumbia, Alabama 35674
                                               Phone: (256) 381-7750
                                               Fax:    (256) 381-4449
                                               E-mail: grickhall@yahoo.com
                                               Bar Number: 0484L73G




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